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                  IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAIʻI

  UNITED STATES OF AMERICA,                   Case No. CR-22-00048-JMS-WRP

                    Plaintiff,                DEFENDANTS’ MOTIONS IN
                                              LIMINE NO. 6-9 TO EXCLUDE
        v.                                    EVIDENCE; CERTIFICATE
                                              OF SERVICE
  KEITH MITSUYOSHI KANESHIRO (1),
  DENNIS KUNIYUKI MITSUNAGA (2), Judge: Hon. J. Michael Seabright
  TERRI ANN OTANI (3),            Trial Date: February 27, 2024
  AARON SHUNICHI FUJII (4),
  CHAD MICHAEL MCDONALD (5),
  SHERI JEAN TANAKA (6),
                Defendants.
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                   DEFENDANTS’ MOTIONS IN LIMINE NO. 6-9

          Defendants hereby move in limine to exclude: (1) allegations of corrupted

  politics relating to politicians other than Keith Kaneshiro as 404(b) evidence; (2)

  sexual harassment; (3) tax related inquiries; and (4) wealth evidence.

     I.      INTRODUCTION

          Defendants are charged in the First Superseding Indictment (“FSI”) with

  Conspiracy Against the United States under 18 U.S.C. § 371 and Conspiracy to

  Deprive Person of Civil Rights under 18 U.S.C. § 241. See ECF No. 70 at 7-8, 20-

  21. In obtaining the FSI, the government presented evidence over the course of 16

  months through the testimony of more than 80 witnesses. Much of the testimony

  and evidence presented did not relate to the charges sought. That unrelated

  evidence included theories that the defendants engaged in campaign finance law

  violations or encouraged others to do so in connection with politicians other than

  Keith Kaneshiro. The government also presented prejudicial evidence of decades’

  old sexual harassment of L.J.M. by Steven Wong, an uncharged Mitsunaga &

  Associates Inc. (“MAI”) employee. Lastly, the government presented evidence

  relating to defendants tax filings and wealth. Admission of this evidence in trial

  would be inadmissible, irrelevant to the charges, and highly prejudicial to the

  defense. The charged defendants are entitled to a fair trial on the merits.


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       MOTION IN LIMINE NO. 6: EXCLUDE EVIDENCE OF MAI
     CONTRIBUTIONS TO OTHER CANDIDATES AS 404(B) EVIDENCE

     I.       INTRODUCTION

           Defendants move to exclude evidence, argument, and/or testimony regarding

  significantly prejudicial allegations of violations of campaign finance law,

  corrupting other political campaigns not related to Keith Kaneshiro, and/or “pay to

  play” politics as 404(b) evidence.

           In their Notice of Intent to Use Evidence Pursuant to Federal Rule of

  Evidence 404(b), the government argues for the admission of campaign donations

  made by the defendants, their friends, and families (“MAI et al.”) made to other

  candidates (not Keith Kaneshiro) as constituting 404(b) evidence. ECF No. 336 at

  11. The government argues that these donations to other candidates constitute

  campaign finance law violations which demonstrate motive, opportunity,

  knowledge, modus operandi, evidence of planning, and absence of mistake in the

  commission of the crime of bribery of a public official. See ECF No. 336 at 2, 11-

  15. The government’s argument is about as credible as arguing that a suspicion of a

  DUI demonstrates motive to commit domestic violence.

     II.      ARGUMENT

           Evidence of constitutionally protected campaign donations to Ann

  Kobayashi, Ben Cayetano, Neil Abercrombie, Kirk Caldwell, Charles Djou,

  Jeremy Harris, and Colleen Hanabusa does not constitute proper 404(b) evidence.
                                             3
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  See ECF No. 336 at 11. The government seeks to introduce evidence of campaign

  donations and allegations of violations of campaign finance law1 relating to other

  candidates not to demonstrate other crimes or wrongs or any other state of mind

  but rather to demonstrate propensity. It is “long held under Rule 404(b) [that]

  evidence of other crimes or wrongs is inadmissible where ‘it’s only relevance is to

  show criminal disposition.’” United States v. Miller, 874 F.2d 1255, 1268 (9th Cir.

  1989) (quoting United States v. Lewis, 837 F.2d 415, 419 (9th Cir. 1988)).

        In the grand jury, the government introduced the testimony of the following

  witnesses:

           • Sam Hyun, owner of MCE International and a subcontractor to MAI,

               testified before the grand jury that he reimbursed an employee and

               family members for campaign donations to Charles Djou in 2016 and

               Neil Abercrombie in 2010 by having his wife, Susong Hyun, write

               them checks.

           • Wesley Segawa, who is Dennis Mitsunaga’s cousin, testified that he

               pled no contest to violating campaign contribution laws in or around

               2004 in connection with the Jeremy Harris mayoral campaign. His

               wife, Phyllis Segawa, confirmed.


  1
   The violations of campaign finance law as identified by the government include
  “bundling” (ECF No. 336 at 12), reimbursement of contributions (ECF No. 336 at
  12-13) and “straw donor” contributions (id. 13-14).
                                          4
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           • Gilbert Matsumoto, the accountant for Mitsunaga and MAI, was

               accused by the government of being reimbursed by Dennis Mitsunaga

               for a campaign contribution he made to the Colleen Hanabusa

               campaign in 2017.

           • Sarah Houghtailing, the owner of TJ’s bar in Honolulu and a friend of

               Dennis Mitsunaga, was accused by the government of being a front

               for Dennis Mitsunaga for the Save Our City PAC, of which she was

               the registered organizer. 2 The Save Our City PAC was organized in

               2016 in opposition to Mayor Kirk Caldwell.

        For evidence of donations and allegations of violating campaign finance law

  relating to politicians other than Keith Kaneshiro to be admitted under Fed. R.

  Evid. 404(b), the government carries the burden to prove that the evidence satisfies

  four requirements: materiality, recency, sufficiency, and similarity. See United

  States v. Charley, 1 F.4th 637, 647 (9th Cir. 2021).

        The government’s proposed 404(b) evidence fails the materiality test.

  Materiality requires a showing that “the evidence tends to prove a material point.”

  Id. The government argues that “the MAI defendants’ “motive” in providing

  campaign contributions to other politicians is to “pool money towards candidates


  2
    On a salacious note, the government also insinuated that Sarah Houghtailing was
  in a romantic relationship with Dennis Mitsunaga (a married man) as a reason why
  he would pay for her child’s tuition.
                                           5
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  for political office, avoiding contribution limits.” ECF No. 336 at 12. However, the

  “prior wrongful acts must establish a motive to commit the crime charged, not

  simply a propensity” to engage in criminal conduct. Charley, 1 F.4th at 648. Even

  if the MAI defendants’ motive in making campaign contributions to Keith

  Kaneshiro was to avoid contribution limits as the government suggests, avoiding

  contribution limits does not provide a motive for bribery of a public official.

  “[T]here is no logical connection between those prior incidents and the charged

  [bribery] other than the implication that [MAI et al.] has a propensity for [avoiding

  contribution limits]” and therefore avoided those limits here in order to bribe Keith

  Kaneshiro—"an impermissible inference under Rule 404(b) and an improper

  consideration when determining whether” bribery is established. See id. The

  avoidance of contribution limits must establish a motive to commit bribery, not a

  propensity.

        The government’s proposed 404(b) evidence also fails the similarity test.

  Similarity requires a showing that “[i]n cases involving the use of prior [acts] to

  show opportunity, knowledge, preparation or motive, similarity may nor may not

  be necessary depending upon the circumstances.” U.S. v. Miller, 874 F.2d 1255,

  1269 (internal quotation marks omitted). For example, if a person commits a

  second crime to cover up a first, proof of the first crime may be used to show

  motive for the second even where the crimes are dissimilar. See id. That is not the

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  case here. The government points to an April 2012 letter to show “knowledge of

  campaign finance laws, including campaign donation limits.” ECF No. 336 at 11

  n.4. However, whether the defendants were aware of campaign finance laws has

  nothing to do with knowledge of bribery. In this instance, for MAI et al.

  contributions to other politicians to be admitted as 404(b) evidence to establish

  knowledge, similarity is required.

        The same can be said for “opportunity.” The government argues that because

  the MAI defendants made allegedly bundled contributions to other candidates in

  the past, they had the opportunity to bribe Keith Kaneshiro. Id. at 12. Again, the

  government posits that alleged violations of campaign finance law relating to other

  candidates provides a gateway to bribery of Kaneshiro. Yet, the government has

  presented no evidence that a single contribution to other candidates, bundled or

  otherwise, was for the purpose of a bribe. Without that connection, making

  contributions to other candidates does not create an “opportunity” to bribe

  Kaneshiro.

        The government posits that because MAI et al. similarly supported and

  contributed to these candidates’ election campaigns, those contributions

  demonstrate modus operandi to commit the crime of bribery of Keith Kaneshiro, a

  public official. This argument fails because evidence of modus operandi is only

  admissible when the identity of the perpetrator is at issue. See United States v.

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  Anifowoshe, 307 F.3d 643, 647 (7th Cir. 2002) (admitting evidence of modus

  operandi to prove identity; United States v. Robinson, 161 F.3d 463, 467 (7th Cir.

  1998) (“Evidence of modus operandi is evidence that shows a distinctive method

  of operation. Such evidence may be properly admitted pursuant to Rule 404(b) to

  prove identity”); United States v. Hudson, 884 F.2d 1016, 1021 (7th Cir. 1989)

  (Evidence of modus operandi must be “sufficiently idiosyncratic to permit an

  inference of pattern for purposes of proof.”). Neither the government nor the

  defense argue identity is at issue. There is no dispute that MAI et al. made

  campaign contributions to Keith Kaneshiro. The government also does not argue

  that donations to other politicians show a unique pattern of bribery. See United

  States v. Shackleford, 738 F.2d 776, 783 (7th Cir. 1984) (collateral acts must bear

  “a singular strong resemblance to the pattern of the offense charged.”). Therefore,

  the only reason for admitting evidence of supposed modus operandi is to show

  propensity.

        In addition, the government’s modus operandi arguments also fail the

  similarity test. See Charley, 1 F.4th at 647. “[W]hen prior crimes are used to

  establish identity, modus operandi, or absence of mistake or accident, such

  evidence simply lacks probative value unless it is sufficiently similar to the

  subsequent offense.” Miller, 874 F.2d at 1269. There is nothing similar between

  campaign contributions and campaign contributions for the purpose of bribery. See

                                            8
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  Charley, 1 F.4th at 650 (finding that prior incidents of assault against dissimilar

  victims were not similar). The government further argues that violations of

  campaign finance law in the form of “bundling” or “reimbursing” donations

  demonstrate modus operandi to commit the crime of bribery of Keith Kaneshiro, a

  public official. Even if evidence existed to support violations of campaign finance

  law, which it does not, there remains nothing similar between that act performed

  for the purpose of getting a candidate elected and the act performed for the purpose

  of bribing a public official. Here, the crime is bribery. The mechanism by which

  the alleged bribery took place does not materially impact the commission of the

  offense. In fact, the statutes at issue here take no position on the mechanism,

  because it is irrelevant to the crime. The tail does not wag the dog.

        The only thing similar about the instant case and any past donations to

  politicians is that donations occurred. “[T]he greater is the dissimilarity of the two

  offenses, the more tenuous is the relevance,” and everything about these instances

  is dissimilar. See Charley, 1 F.4th at 651. They involve different politicians,

  running for different offices, incapable of having anything to do with criminal

  prosecution of L.J.M. or others, and involving no allegations of bribery. Thus, such

  evidence should be excluded.

        The government argument that MAI et al. never donated to “any candidate

  for the Honolulu Prosecuting Attorney’s office” before Keith Kaneshiro, and

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  therefore, donations to him could only be bribes, is equally unpersuasive. MAI et

  al. donated to all kinds of candidates, both local and statewide, including United

  States Representatives and Senators, Hawaii State Representatives and Senators,

  Hawaii Governors, Honolulu Mayors, and Honolulu City Councilmembers. This

  fact, if it is one, 3 is hardly a compelling reason to permit introduction of propensity

  evidence cloaked under the guise of 404(b).

        Lastly, the government argues that Otani donations to other politicians

  through straw donors “demonstrates the MAI defendants’ knowledge of campaign

  finance limits…[and] is also part of MAI’s modus operandi of paying off

  politicians in Hawaii, and evidence of planning and absence of mistake.” ECF No.

  336 at 14. This makes no sense. Otani’s straw contributions to other candidates

  cannot demonstrate knowledge of campaign finance limits by other MAI

  defendants. 4 Even if Otani’s acts could be admissible under 404(b), “[t]here are

  limits to the risks a co-defendant must endure” when charged by the government in

  a joint trial. United States v. Figueroa, 618 F.2d 934, 944 (2d Cir. 1980). This

  includes the admissibility of purported other acts evidence introduced against a co-


  3
    State of Hawaii Campaign Donor Records available online only go back as far as
  2006. It is notable, however, that Dennis Mitsunaga donated to David Arakawa
  who ran for the Honolulu Prosecuting Attorney’s Office in 1996 and to Megan Kau
  who ran for the Honolulu Prosecuting Attorney’s Office in 2020.
  4
    Defendants’ Motion in Limine No. 16, which seeks in part to exclude evidence of
  Terri Otani’s purported violations of campaign finance law, makes similar
  arguments to exclude. Those arguments are incorporated herein as applicable.
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  defendant. See id. at 946. “In some situations, the danger of unfair prejudice to co-

  defendants may be so great that the prosecution must be put to a choice of

  foregoing either the evidence or the joint trial.” Id. Here, the government chose to

  take advantage of the benefits of trying multiple defendants in a single trial.

  Having done so, it should not be allowed to now introduce evidence highly

  prejudicial to co-defendants when there is a serious risk the jury may erroneously

  attribute that alleged wrongdoing to all defendants. See Zafiro v. United States, 506

  U.S. 534, 539 (noting how evidence of a co-defendant’s wrongdoing in some

  circumstances could erroneously lead a jury to conclude that a defendant is guilty).

        Moreover, Otani’s purported violations of campaign finance limits do not

  establish “paying off politicians in Hawaii” (for what is unknown?), nor does the

  conduct serve as evidence that bribing Kaneshiro to prosecute L.J.M. was planned

  and not a mistake. ECF No. 336 at 14. 404(b) evidence may only be admissible to

  prove plan or absence of mistake when such evidence passes the test of

  admissibility based on materiality, recency, sufficiency, and similarity. See

  Charley, 1 F.4th at 647. MAI et al. campaign contributions to other politicians does

  not pass these tests for admission as 404(b) evidence. Again, alleged campaign

  finance violations have nothing to do with bribery as charged in the FSI.

        However, if this Court finds that such evidence does pass the required test

  for admissibility under Rule 404(b), “the use of such evidence must be narrowly

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  circumscribed and limited” and “even where 404(b) evidence falls within a

  permitted purpose, it should be excluded, under Rule 403, if the court finds that its

  probative value is substantially outweighed by the danger of unfair prejudice.”

  Charley, 1 F.4th at 643. “[W]e must analyze the evidence pursuant to Rule 403 and

  determine whether its probative value outweighs its prejudicial effect.” United

  States v. Arambula-Ruiz, 987 F.2d 599, 604 (9th Cir. 1993).

          Here, the danger of unfair prejudice is clear. The government is essentially

  alleging the defendants committed violations of campaign finance laws for years.

  See ECF No. 336 at 11-15. This creates an unreasonable “risk that a jury will

  convict for crimes other than those charged – or that, uncertain of guilt, it will

  convict anyway because a bad person deserves punishment.” Old Chief v. United

  States, 519 U.S. 172, 181 (1997) (quoting United States v. Moccia, 681 F.2d 61, 63

  (1st Cir. 1982)).

       III.   CONCLUSION

          For the above reasons, defendants hereby move in limine to exclude at trial

  any evidence, argument, and/or testimony of campaign donations to candidates

  other than Keith Kaneshiro as 404(b) evidence.

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  DATED: January 22, 2024                  Respectfully submitted,
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          MOTION IN LIMINE NO. 7: EXCLUDE EVIDENCE OF SEXUAL
                         HARASSMENT OF L.J.M.

     I.      INTRODUCTION

          In the Joint Trial Presentation Statement, the government stated its intention

  to introduce evidence regarding sexual harassment of L.J.M. ECF No. 324 at 3

  (“The United States will be submitting no more than six documents where L.J.M.’s

  face was superimposed onto images of other female bodies clad in lingerie, as well

  as emails sent to L.J.M. by an MAI employee, with brochures attached for breast

  augmentation and reconstruction.”).

          Defendants move to exclude evidence, argument, and/or testimony,

  including but not limited to testimony of Steven Wong, Rodney Lee, and L.J.M.,

  regarding sexual harassment of L.J.M. by MAI employee Steven Wong.

          In the grand jury, the government elicited testimony from witnesses Steven

  Wong and Rodney Lee regarding two incidents of sexual harassment involving

  Steven Wong and L.J.M. In 2000, Steven Wong, an architect at MAI, sent an email

  to Rodney Lee, another MAI employee, which included images of L.J.M.’s head

  cropped onto the head of a woman clad in lingerie with her breasts exposed.

  Rodney Lee confirmed this email. Steven Wong also delivered brochures for breast

  augmentation and reconstruction to L.J.M., accompanied with a note reading,

  “Thank you, I’m through with your breasts.”


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           Four years later, in 2004, Steven Wong told Mike Agnotti, a contractor, that

  L.J.M. would be arriving at the job early because she was “shacking up” with

  someone. This conversation was then relayed to L.J.M. L.J.M. filed a formal

  complaint against Steven Wong at MAI.

     II.      ARGUMENT

           Incidents of sexual harassment occurring more than 20 years ago are

  irrelevant to the conduct charged. Moreover, any limited probative value of this

  evidence is far outweighed by the prejudicial impact on the MAI defendants. The

  most recent alleged incident of sexual harassment occurred in 2004, but L.J.M.

  continued her employment at MAI for seven more years until her termination in

  2011. Importantly, there is no evidence any of the charged defendants had

  knowledge of, condoned or encouraged the conduct in 2000 or 2004.

           In fact, the opposite is true. When L.J.M. finally filed a formal complaint

  with MAI regarding Steven Wong’s conduct in 2000 and 2004, Steven Wong was

  promptly disciplined. He was forced to take leave from the company for

  approximately two weeks, required to seek counseling, demoted from his position

  as Division Manager and replaced by another MAI employee, and required to

  move office seating. Further, during L.J.M.’s April 18, 2014 deposition as part of

  the lawsuit she filed against MAI in 2012, she testified that the company addressed

  her concerns regarding the 2004 incident, and said under oath that she was not

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  sexually harassed from 2004 until her termination. Thus, evidence of Steven

  Wong’s sexual harassment of L.J.M. is not probative of MAI’s motive for

  termination and should be excluded as irrelevant under Fed R. Evid. 401 and 402.

        Even if the Court finds this evidence relevant, it should be excluded under

  Fed. R. Evid. 403 due to “unfair prejudice,” creating “an undue tendency to

  suggest decision on an improper basis, commonly, though not necessarily, an

  emotional one.” Old Chief v. United States, 519 U.S. 172, 180 (1997). Jurors may

  believe that because Steven Wong acted improperly, that same impropriety is

  attributable to the MAI defendants.

        Even with a limiting instruction, evidence regarding sexual harassment of

  L.J.M. at MAI is highly likely to inflame and prejudice the jury against the MAI

  defendants by creating “the risk that a jury will convict for crimes other than those

  charged – or that, uncertain of guilt, it will convict anyway because a bad person

  deserves punishment.” Id. at 181 (quoting United States v. Moccia, 681 F.2d 61, 63

  (1st Cir. 1982)). Such “a prejudicial effect . . . outweighs ordinary relevance.” Id. at

  181 (quoting United States v. Moccia, 681 F.2d 61, 63 (1st Cir. 1982)). The only

  reason for introducing such evidence is to improperly elicit such an emotional

  response.

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          Thus, any evidence, argument, and/or testimony regarding sexual

  harassment at MAI involving Steven Wong and Laurel Mau should be excluded as

  irrelevant or unfairly prejudicial.

     III.    CONCLUSION

          For the above reasons, defendants hereby move in limine to exclude at trial

  any evidence, argument, and/or testimony of incidents of sexual harassment of

  L.J.M., occurring 20 years ago or more, as described above.

  DATED: January 22, 2024                        Respectfully submitted,
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     MOTION IN LIMINE NO. 8: EXCLUDE TAX RELATED INQUIRIES

     I.       INTRODUCTION

           Defendants move in limine to exclude at trial any evidence, argument, and/or

  testimony, including but not limited to testimony of Cary Kanemoto and/or Gilbert

  Matsumoto, regarding the payment of taxes and/or filed tax returns, whether

  personal or business tax returns, of Dennis Mitsunaga, MAI, and/or Mitsunaga

  Construction, Inc.

           The government presented the testimony of Gilbert Matsumoto, C.P.A. for

  Dennis Mitsunaga and MAI, and Cary Kanemoto, C.P.A. for Mitsunaga

  Construction, Inc., and produced tax returns and other documents to the grand jury.

  None of the defendants are charged in the FSI with tax violations.

     II.      ARGUMENT

           Reference to Dennis Mitsunaga, MAI, or Mitsunaga Construction tax filings

  is irrelevant to the conduct charged, highly prejudicial, and a waste of time. The

  FSI does not charge or reference tax violations. Thus, any evidence, argument, or

  testimony regarding tax filings should be excluded as irrelevant under Fed. R.

  Evid. 401 and 402.

           Further, any evidence of tax filings will inevitably lead to the introduction of

  irrelevant and prejudicial wealth evidence. United States v. Socony-Vacuum Oil

  Co., 310 U.S. 150 (1940) “has been cited repeatedly by circuit courts for the

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  proposition that evidence of a party’s wealth should be excluded where it is not

  relevant to the issues in the case. Friedman v. Medjet Assistance, LLC, 2010 WL

  9081271 (C.D. Cal. 2010) (citing United States v. Arledge, 553 F.3d 881, 895 (5th

  Cir.2008); United States v. Jackson–Randolph, 282 F.3d 369, 376 (6th

  Cir.2002); United States v. Rothrock, 806 F.2d 318, 323 (1st Cir.1986); Garcia v.

  Sam Tanksley Trucking, Inc., 708 F.2d 519, 522 (10th Cir.1983); United States v.

  Stahl, 616 F.2d 30, 33 (2d Cir.1980); see also Moore v. Telfon Communications

  Corp., 589 F.2d 959, 966 (9th Cir.1978) (holding that a single terse reference to

  defendant's bankruptcy was not prejudicial error where the trial court “admonished

  the jury not to consider the wealth of the parties or Telfon's bankruptcy”)).

        Under Fed. R. Evid. 403, wealth evidence often results in “unfair prejudice”

  creating the risk of infecting jurors’ views of the evidence by playing into class

  bias and triggering unwanted negative associations. See Socony-Vacuum Oil Co.,

  310 U.S. at 239 (“[A]ppeals to class prejudice are highly improper and cannot be

  condoned and trial courts should ever be alert to prevent them.”); see also United

  States v. Stahl, 616 F.2d 30, 31-33 (2d Cir. 1980) (finding that wealth evidence can

  lead to unfair prejudice because juries may “equate wealth with wrongdoing.”).

  This may lead jurors to rule based on an emotional basis rather than on “proof

  specific.” Old Chief v. United States, 519 U.S. 172, 180 (1997). As such, “the

  default rule is not to admit evidence of wealth, because it is usually irrelevant

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  under rule 401 and unfairly prejudicial under rule 403.” SEC v. Goldstone, 2016

  WL 3654273, *12 (D.N.M. June 13, 2016).

          Any reference to tax filings will necessitate defense rebuttal of any

  inferences the jury might draw, leading to undue delay, confusion of the issues, and

  a waste of time through the creation of irrelevant side shows on collateral issues.

  See Firemen’s Fund Ins. Co. v. Thien, 63 F.3d 754, 758 (8th Cir. 1995) (“Confusion

  of the issues warrants exclusion of relevant evidence if admission of the evidence

  would lead to litigation of collateral issues.”); Blancha v. Raymark Industries, 972

  F.2d 507, 516 (3d Cir. 1992) (“Evidence may be excluded when its admission

  would lead to litigation of collateral issues, thereby creating a side issue which

  might distract the jury from the main issues.”).

          Thus, any limited probative value that might be provided by admission of

  tax filings is far outweighed by the danger of unfair prejudice, confusing the issues,

  misleading the jury, and wasting time – all strong reasons for exclusion under Fed.

  R. Evid. 403.

       III.   CONCLUSION

          For the above reasons, defendants hereby move in limine to exclude at trial

  any evidence, argument, and/or testimony, regarding tax filings.

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  DATED: January 22, 2024                  Respectfully submitted,
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      MOTION IN LIMINE NO. 9: EXCLUDE EVIDENCE OF WEALTH

     I.      INTRODUCTION

          Defendants move to exclude evidence, argument, and/or testimony regarding

  wealth evidence, including but not limited to net worth, income, stock ownership,

  and/or irrelevant business holdings.

          In the grand jury, the government presented evidence that Dennis Mitsunaga

  owns, operates, or is associated with certain business entities, including but not

  limited to the following:

          1. MAI, an Architect and Engineering Company

          2. Mitsunaga Construction Inc., a Non-residential Construction Company

          3. Mitsunaga Corporation, a Dissolved Company

          4. Ala Leie Group LLC, a Real Estate Investment Company

          5. M&A Hawaii Inc., a Private Architect and Engineering Company

          6. Aniani Group LLC, a Residential Real Estate Company

          7. Lincoln Group LLC, a Real Estate Holding Company

          8. One Amana LLC, a Real Estate Holding Company

          9. Two Amana LLC, a Real Estate Company

          10.Pacific Global Group LLC, an Inactive Vehicle Leasing Company

          11.Waimea Associates LLC, a Real Estate Company

          12.Amana Associates LLC, a Real Estate Company

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           13.Greenwaves LLC, an Inactive Real Estate Holding Company

           14.Kole Group LLC, a Holding Company

           15.Ualehua Group LLC, an Inactive Company

           16.MM International LLC, an Inactive Architect/Engineering Company

           17.TM Designers Inc., a Construction Management Company

           The government further referenced defendants wealth, ability to afford

  campaign contributions, and various other expenditures. Such references are

  irrelevant and highly prejudicial.

     II.      ARGUMENT

           Evidence of financial information or business holdings are irrelevant to the

  conduct charged, highly prejudicial, and a waste of time. Such evidence is not

  probative of a potential motive. See United States v. Mitchell, 172 F.3d 1104, 1108-

  09 (9th Cir. 1999) (“A rich man’s greed is as much a motive to steal as a poor man’s

  poverty. Proof of either, without more, is likely to amount to a great deal of unfair

  prejudice with little probative value.”). Further, United States v. Socony-Vacuum

  Oil Co., 310 U.S. 150 (1940) “has been cited repeatedly by circuit courts for the

  proposition that evidence of a party’s wealth should be excluded where it is not

  relevant to the issues in the case. Friedman v. Medjet Assistance, LLC, 2010 WL

  9081271 (C.D. Cal. 2010) (citing United States v. Arledge, 553 F.3d 881, 895 (5th

  Cir.2008); United States v. Jackson–Randolph, 282 F.3d 369, 376 (6th Cir.

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  2002); United States v. Rothrock, 806 F.2d 318, 323 (1st Cir.1986); Garcia v. Sam

  Tanksley Trucking, Inc., 708 F.2d 519, 522 (10th Cir.1983); United States v.

  Stahl, 616 F.2d 30, 33 (2d Cir.1980); see also Moore v. Telfon Communications

  Corp., 589 F.2d 959, 966 (9th Cir.1978) (holding that a single terse reference to

  defendant’s bankruptcy was not prejudicial error where the trial court “admonished

  the jury not to consider the wealth of the parties or Telfon’s bankruptcy”)).

        However, if the Court finds such evidence relevant, it still warrants

  exclusion under Fed. R. Evid. 403 due to “unfair prejudice, confusing the issues,

  [and] misleading the jury . . . .” Wealth evidence can lead to unfair prejudice

  because juries may “equate wealth with wrongdoing.” United States v. Stahl, 616

  F.2d 30, 31-33 (2d Cir. 1980) (finding that the government had “impermissibly

  equate[d] success, affluence and a single minded occupation with one’s business

  affairs with greed and corruption,” warranting reversal.)

        Wealth evidence could trigger class bias. Socony-Vacuum Oil Co., 310 U.S.

  at 239 (“[A]ppeals to class prejudice are highly improper and cannot be condoned

  and trial courts should ever be alert to prevent them.”). This may lead jurors to rule

  based on an emotional basis rather than on “proof specific.” Old Chief v. United

  States, 519 U.S. 172, 180 (1997). As such, “the default rule is not to admit

  evidence of wealth, because it is usually irrelevant under rule 401 and unfairly

  prejudicial under rule 403.” SEC v. Goldstone, 2016 WL 3654273, *12 (D.N.M.

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  June 13, 2016). Simply put, appeals to class prejudice have “no place in a court

  room.” Stahl, 616 F.2d at 33.

        Wealth evidence further warrants exclusion because it would lead to undue

  delay, confuse the jury, and waste time. See Fed. R. Evid. 403. If this evidence

  were admitted, defendants would be forced to address any improper inferences the

  jury might make. The introduction of wealth evidence risks derailing the trial as it

  would force the defendants to present evidence to establish how finances were

  calculated, how financial conditions compare with that of similar businesses, the

  nature and purpose of irrelevant and unrelated business holdings – all leading to

  the creation of side issues and unnecessary litigation of collateral issues. See

  Firemen’s Fund Ins. Co. v. Thien, 63 F.3d 754, 758 (8th Cir. 1995) (“Confusion of

  the issues warrants exclusion of relevant evidence if admission of the evidence

  would lead to litigation of collateral issues.”); Blancha v. Raymark Industries, 972

  F.2d 507, 516 (3d Cir. 1992) (“Evidence may be excluded when its admission

  would lead to litigation of collateral issues, thereby creating a side issue which

  might distract the jury from the main issues.”).

        Thus, because such a sideshow does nothing to resolve any of the material

  issues in the case and would be unnecessarily confusing, misleading, and a waste

  of time, any wealth evidence should be excluded.

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     III.     CONCLUSION

          For the above reasons, defendants hereby move in limine to exclude at trial

  any evidence, argument, and/or testimony regarding wealth evidence, including but

  not limited to net worth, income, stock ownership, and/or irrelevant business

  holdings.

  DATED: January 22, 2024                        Respectfully submitted,
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                     THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF HAWAIʻI


   UNITED STATES OF AMERICA,                    Case No. CR-22-00048-JMS-WRP-2

                      Plaintiff,                CERTIFICATE OF SERVICE

         v.

   KEITH MITSUYOSHI KANESHIRO (1),
   DENNIS KUNIYUKI MITSUNAGA (2),
   TERRI ANN OTANI (3),
   AARON SHUNICHI FUJII (4),
   CHAD MICHAEL MCDONALD (5),
   SHERI JEAN TANAKA (6),

                      Defendants.




                           CERTIFICATE OF SERVICE

     The undersigned hereby certifies that a true and correct copy of the foregoing

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  ANDREW KENNEDY
  THOMAS OTAKE
  MARK MERMELSTEIN
  ANDY COWEN
  CRYSTAL GLENDON


        DATED: at Los Angeles, California, on January 22, 2024.


                                              /s/ Nina Marino_________
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